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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

BED-VILLAGE OAKS, LLC AND                      §
326 COLONIAL APARTMENT                         §
COMPLEX, LLC                                   §
                                               §
     Plaintiffs,                               §
                                               §        Civil Action No. 3:17-cv-0553-G
v.                                             §
                                               §
SENECA SPECIALTY INSURANCE                     §
COMPANY,                                       §
                                               §
     Defendant.

                   DEFENDANT’S MOTION TO SUBSTITUTE COUNSEL

TO THE HONORABLE COURT:

        Defendant Seneca Specialty Insurance Company (“Seneca”) files this Motion to

Substitute Counsel and in support thereof shows the Court as follows:

                                               I.

        Seneca respectfully requests that the Court enter an Order allowing Travis M. Brown to

withdraw as counsel for Seneca, and substitute in his place Lindsey Shine Lawrence, whose

contact information is as follows:

                                Lindsey Shine Lawrence
                                State Bar No. 24053681
                       THOMPSON, COE, COUSINS & IRONS, L.L.P.
                             700 N. Pearl Street, 25th Floor
                                  Dallas, Texas 75201
                              Telephone: (214) 871-8200
                              Facsimile: (214) 871-8209
                          Email: llawrence@thompsoncoe.com




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                                                 II.

        Good cause exists for the Court to grant this motion, as Seneca desires that Lindsey Shine

Lawrence be substituted as counsel in the above-styled and numbered cause of action. Plaintiff

is unopposed to this substitution. This substitution is sought in the interest of justice and not for

the purpose of delay.

                                                III.

        Based on the foregoing, Defendant Seneca Specialty Insurance Company requests that

this motion be granted, and that the Court enter an Order substituting Lindsey Shine Lawrence in

place of Travis M. Brown.

                                              Respectfully submitted,

                                              THOMPSON, COE, COUSINS & IRONS, L.L.P.

                                               /s/ James N. Isbell
                                              James N. Isbell
                                              Attorney-in-Charge
                                              Bar No. 10431900
                                              jisbell@thompsoncoe.com
                                              Christopher H. Avery
                                              Bar No. 24069321
                                              cavery@thompsoncoe.com
                                              One Riverway, Suite 1400
                                              Houston, Texas 77056
                                              Telephone: (713) 403-8210
                                              Facsimile: (713) 403-8299

Local Counsel:
Lindsey Shine Lawrence
State Bar No. 24053681
THOMPSON, COE, COUSINS & IRONS, L.L.P.
700 N. Pearl Street, 25th Floor
Dallas, Texas 75201
Telephone: (214) 871-8200 | Facsimile: (214) 871-8209
Email: llawrence@thompsoncoe.com

ATTORNEYS FOR DEFENDANT
Seneca Specialty Insurance Company



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                            CERTIFICATE OF CONFERENCE

       Counsel for Defendant attempted to contact counsel for plaintiff via email on April 27,
2017 and May 1, 2017 and to date there has been on response.

                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of foregoing instrument has been served on
counsel of record via electronic notification, May 8th, 2017:

                                              /s/ Christopher H. Avery
                                            Christopher H. Avery




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